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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11 Appeal

BOY SCOUTS OF AMERICA AND                               Bankruptcy Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                        Appeal Case No. 1:20-cv-01643 (RGA)
Debtors.

                                                                  Jointly Administered


              STIPULATION OF DISMISSAL OF BANKRUPTCY APPEAL

         Pursuant to Federal Rule of Bankruptcy Procedure 8023, Century Indemnity Company,

as successor to CCI Insurance Company, as successor to Insurance Company of North America

and Indemnity Insurance Company of North America, Westchester Fire Insurance Company,

and Westchester Surplus Lines Insurance Company (“Appellant”) and Boy Scouts of America

and Delaware BSA LLC (“Appellee”) stipulate to dismissal of the above-referenced appeal.

The parties shall bear their own costs. No order of the court is necessary.




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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311).
The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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Attorneys for the Boy Scouts of America     Westchester Fire Insurance Company and
                                            Westchester Surplus Lines Insurance Company



SO ORDERED this _____ day of February, 2021.

                                          _____________________________________
                                              Honorable Richard G. Andrews




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